    Case 8:21-cv-00768-JVS-KES Document 62 Filed 11/30/21 Page 1 of 3 Page ID #:1133

                                     Office of the Clerk
                    United States Court of Appeals for the Ninth Circuit
                                   Post Office Box 193939
                            San Francisco, California 94119-3939
                                        415-355-8000
Molly C. Dwyer
Clerk of Court                         November 30, 2021


       No.:         21-56293
       D.C. No.: 8:21-cv-00768-JVS-KES
       Short Title: Jane Does, et al v. Reddit, Inc.


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                            FOR THE NINTH CIRCUIT
                                                                    NOV 30 2021
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




   JANE DOES, No. 1-6; JOHN DOES,               No. 21-56293
   No. 2, 3, and 5, on behalf of themselves
   and all others similarly situated,
                                                D.C. No. 8:21-cv-00768-JVS-KES
                Plaintiffs - Appellants,        U.S. District Court for Central
                                                California, Santa Ana
     v.
                                                TIME SCHEDULE ORDER
   REDDIT, INC.,

                Defendant - Appellee.



  The parties shall meet the following time schedule.

  Tue., December 7, 2021        Appellants' Mediation Questionnaire due. If your
                                registration for Appellate CM/ECF is confirmed after
                                this date, the Mediation Questionnaire is due within
                                one day of receiving the email from PACER
                                confirming your registration.
  Fri., January 28, 2022        Appellants' opening brief and excerpts of record
                                shall be served and filed pursuant to FRAP 31 and
                                9th Cir. R. 31-2.1.
  Mon., February 28, 2022       Appellee's answering brief and excerpts of record
                                shall be served and filed pursuant to FRAP 31 and
                                9th Cir. R. 31-2.1.

  The optional appellants' reply brief shall be filed and served within 21 days of
  service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.
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  Failure of the appellants to comply with the Time Schedule Order will result
  in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: John Brendan Sigel
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
